20-11601       Doc 2      Filed 07/09/20        Entered 07/09/20 03:24:01              Main Document             Pg
                                                   1 of 18



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Counsel to the Initial Debtors
and Debtors-in-Possession and
Proposed Counsel to the Subsequent
Debtors and Debtors-in-Possession

    UNITED STATES BANKRUPTCY COURT
    SOUTHERN DISTRICT OF NEW YORK


    In re
                                                                          Chapter 11
    LATAM Airlines Group S.A., et al.,
                                                                          Case No. 20-11254
                                                          1
                                               Debtors.


    In re
                                                                          Chapter 11
    TAM S.A.,
                                                                          Case No. 20-11597
                                               Debtor.
    Tax I.D. No.: N/A



1
          The Debtors in these Chapter 11 Cases, along with the last four digits of each Debtor’s U.S. or local tax
identification number (as applicable), are: LATAM Airlines Group S.A. (XX-XXXXXXX); Lan Cargo S.A. (98-
0058786); Transporte Aéreo S.A. (XX-XXXXXXX); Inversiones Lan S.A. (XX-XXXXXXX); Technical Training LATAM
S.A. (96-847880K); LATAM Travel Chile II S.A. (XX-XXXXXXX); Lan Pax Group S.A. (XX-XXXXXXX); Fast Air
Almacenes de Carga S.A. (XX-XXXXXXX); Línea Aérea Carguera de Colombia S.A. (XX-XXXXXXX); Aerovías de
Integración Regional S.A. (XX-XXXXXXX); LATAM Finance Ltd. (N/A); LATAM Airlines Ecuador S.A. (98-
0383677); Professional Airline Cargo Services, LLC (XX-XXXXXXX); Cargo Handling Airport Services, LLC (30-
1133972); Maintenance Service Experts, LLC (XX-XXXXXXX); Lan Cargo Repair Station LLC (XX-XXXXXXX); Prime
Airport Services Inc. (XX-XXXXXXX); Professional Airline Maintenance Services LLC (XX-XXXXXXX); Connecta
Corporation (XX-XXXXXXX); Peuco Finance Ltd. (N/A); Latam Airlines Perú S.A. (XX-XXXXXXX); Inversiones Aéreas
S.A. (N/A); Holdco Colombia II SpA (XX-XXXXXXX); Holdco Colombia I SpA (XX-XXXXXXX); Holdco Ecuador S.A.
(XX-XXXXXXX); Lan Cargo Inversiones S.A. (XX-XXXXXXX); Lan Cargo Overseas Ltd. (XX-XXXXXXX); Mas Investment
Ltd. (XX-XXXXXXX); Professional Airlines Services Inc. (XX-XXXXXXX). For the purpose of these Chapter 11 Cases,
the service address for the Debtors is: 6500 NW 22nd Street Miami, FL 33131.
20-11601   Doc 2     Filed 07/09/20    Entered 07/09/20 03:24:01     Main Document   Pg
                                          2 of 18




 In re
                                                        Chapter 11
 TAM Linhas Aéreas S.A.
                                                        Case No. 20-11598
                                      Debtor.
 Tax I.D. No.: XX-XXXXXXX

 In re
                                                        Chapter 11
 Aerolinhas Brasileiras S.A.
                                                        Case No. 20-11603
                                      Debtor.
 Tax I.D. No.: XX-XXXXXXX

 In re
                                                        Chapter 11
 Prismah Fidelidade Ltda.
                                                        Case No. 20-11600
                                      Debtor.
 Tax I.D. No.: N/A

 In re
                                                        Chapter 11
 Fidelidade Viagens e Turismo S.A.
                                                        Case No. 20-11601
                                      Debtor.
 Tax I.D. No.: XX-XXXXXXX

 In re
                                                        Chapter 11
 TP Franchising Ltda.
                                                        Case No. 20-11602
                                      Debtor.
 Tax I.D. No.: N/A

 In re
                                                        Chapter 11
 Holdco I S.A.
                                                        Case No. 20-11604
                                      Debtor.
 Tax I.D. No.: XX-XXXXXXX




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20-11601       Doc 2      Filed 07/09/20       Entered 07/09/20 03:24:01             Main Document              Pg
                                                  3 of 18




    In re
                                                                        Chapter 11
    Multiplus Corredora de Seguros Ltda.
                                                                        Case No. 20-11599
                                              Debtor.
    Tax I.D. No.: N/A

    In re
                                                                        Chapter 11
    Piquero Leasing Limited
                                                                        Case No. 20-11587
                                              Debtor.
    Tax I.D. No.: N/A


                  DEBTORS’ MOTION FOR AN ORDER AUTHORIZING
            JOINT ADMINISTRATION OF THE DEBTORS’ CHAPTER 11 CASES

                 TAM S.A., TAM Linhas Aéreas S.A., Aerolinhas Brasileiras S.A., Prismah

Fidelidade Ltda., Fidelidade Viagens e Turismo S.A., TP Franchising Ltda., Holdco I S.A.,

Multiplus Corredora de Seguros Ltda. and Piquero Leasing Limited (collectively, the

“Subsequent Debtors”) and LATAM Airlines Group S.A. (“LATAM Parent”) and its affiliated

debtors and debtors-in-possession in the above-captioned jointly administered chapter 11 cases

(collectively, the “Initial Debtors” and, together with the Subsequent Debtors, the “Debtors”), 2

hereby submit this motion (the “Motion”) for entry of an order, substantially in the form attached

hereto as Exhibit A (the “Proposed Order”), pursuant to section 105(a) of title 11 of the United

States Code, 11 U.S.C. §§ 101 et seq. (the “Bankruptcy Code”), and Rule 1015(b) of the Federal

Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), authorizing the joint administration of

the Debtors’ related chapter 11 cases (together, the “Chapter 11 Cases”). In support of this

Motion, the Debtors rely upon the Declaration of Ramiro Alfonsín Balza in Support of First Day



2
      LATAM Parent, and its debtor and non-debtor subsidiaries and affiliates are collectively referred to as
“LATAM.”



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20-11601     Doc 2    Filed 07/09/20     Entered 07/09/20 03:24:01        Main Document         Pg
                                            4 of 18



Motions and Applications in Compliance with Local Rule 1007-2 (the “First Day Declaration”),

filed May 26, 2020 (ECF No. 3), incorporated herein by reference, as well as the Second

Declaration of Ramiro Alfonsín Balza in Support of the Subsequent Chapter 11 Cases (the

“Supplemental Declaration”) filed contemporaneously herewith and respectfully state as follows:

                                        BACKGROUND

               1.     On May 26, 2020 (the “Initial Petition Date”), the Initial Debtors each

filed voluntary petitions under chapter 11 of the Bankruptcy Code (the “Initial Chapter 11

Cases”). The Initial Debtors continue to operate their businesses and manage their properties as

debtors-in-possession pursuant to §§ 1107(a) and 1108 of the Bankruptcy Code. The Initial

Chapter 11 Cases are jointly administered for procedural purposes only pursuant to Rule 1015(b)

of the Bankruptcy Rules and the Order Authorizing Joint Administration of the Debtors’ Chapter

11 Cases (ECF No. 34) entered by the Court in each of the Chapter 11 Cases (the “Consolidated

Cases”). On June 5, 2020, the United States Trustee for Region 2 (the “UST”) appointed an

official committee of unsecured creditors (the “UCC”) (ECF No. 115). No trustee or examiner

has been appointed in the Initial Chapter 11 Cases.

               2.     On July 7 and July 9, 2020 (as applicable to each Subsequent Debtor, the

“Subsequent Petition Date”), the Subsequent Debtors each filed voluntary petitions under chapter

11 of the Bankruptcy Code (together, the “Subsequent Chapter 11 Cases”). Simultaneously with

the filing of this Motion, each of the Subsequent Debtors filed a motion seeking an order of joint

administration of the Chapter 11 Cases with the Subsequent Chapter 11 Cases for procedural

purposes only pursuant to Rule 1015(b) of the Bankruptcy Rules.

               3.     As described more fully in the First Day Declaration and the Supplemental

Declaration, at the beginning of 2020, LATAM was financially and operationally the strongest

airline group in Latin America and poised to continue its upward trajectory, projecting growth in


                                                4
20-11601     Doc 2     Filed 07/09/20     Entered 07/09/20 03:24:01        Main Document            Pg
                                             5 of 18



all of its passenger segments, as well as its cargo business. Unfortunately, like so many

businesses around the world, the unprecedented effects of the COVID-19 global pandemic have

significantly affected LATAM’s operations and its business plan. In April 2020, in response to

the precipitous decline in air travel, LATAM reduced its passenger routes by 95%. Since the

Initial Petition Date, certain countries around the world have seen a decline in the number of

COVID-19 infections, but many travel restrictions and border closings remain in place, and the

demand for air travel remains far below LATAM’s historical average. The same issues that

affected the Initial Debtors remain particularly acute for the Subsequent Debtors, who are almost

entirely based in Brazil, where the number of daily COVID-19 infections continues to increase.

In addition, while the Debtors had hoped that the Subsequent Debtors could continue to operate

independently outside of the purview of this Court’s protection, many contract counterparties

and trade vendors have used the Chapter 11 filing of the Initial Debtors in order to restrict or

impair trade terms, cease service, or otherwise impair the Subsequent Debtor’s ability to

continue to do business. Further, the Subsequent Debtors are also approaching a number of

material obligations in respect of their financial indebtedness. Finally, while the Subsequent

Debtors remain in discussions concerning potential government assistance in light of the

pandemic, those discussions have to date not come to fruition.

               4.      Since the Initial Petition Date, and in light of these adverse developments,

the Debtors have continued to review their business needs to determine the appropriate means of

preserving value for their stakeholders. Accordingly, the Subsequent Debtors have decided to

seek chapter 11 protection to preserve assets for the benefit of all stakeholders and administer

their assets and businesses in a manner consistent with the Initial Debtors’ larger restructuring

efforts.




                                                 5
20-11601       Doc 2       Filed 07/09/20        Entered 07/09/20 03:24:01               Main Document             Pg
                                                    6 of 18



                                      JURISDICTION AND VENUE

                  5.       The United States Bankruptcy Court for the Southern District of New

York (the “Court”) has jurisdiction over the Chapter 11 Cases and this Motion pursuant to 28

U.S.C. §§ 157 and 1334 and the Amended Standing Order of Reference from the United States

District Court for the Southern District of New York dated January 31, 2012. Venue is proper

pursuant to 28 U.S.C. §§ 1408 and 1409. This matter is a core proceeding pursuant to 28 U.S.C.

§ 157(b).

                  6.       The statutory predicates for the relief requested herein are section 105(a)

of the Bankruptcy Code and Bankruptcy Rule 1015(b) and the Local Rules for the United States

Bankruptcy Court for the Southern District of New York (the “Local Rules”).

                                           RELIEF REQUESTED

                  7.       By this Motion, the Debtors request entry of the Proposed Order

authorizing joint administration of these Chapter 11 Cases for procedural purposes only. The

Debtors request that the Court expand the file, docket and service list for the Consolidated Cases

to include each of the Subsequent Debtors and that the Subsequent Debtors, together with the

Consolidated Cases, be administered under the consolidated caption:

    UNITED STATES BANKRUPTCY COURT
    SOUTHERN DISTRICT OF NEW YORK

    In re                                                                  Chapter 11

    LATAM Airlines Group S.A., et al.,                                     Case No. 20-11254

                              Debtors.1                                    Jointly Administered



1
         The Debtors filing voluntary petitions for relief under chapter 11 of the Bankruptcy Code (the “Chapter 11
Cases”), along with the last four digits of each Debtor’s U.S. or local tax identification number (as applicable) are:
LATAM Airlines Group S.A. (XX-XXXXXXX); Lan Cargo S.A. (XX-XXXXXXX); Transporte Aéreo S.A. (XX-XXXXXXX);
Inversiones Lan S.A. (XX-XXXXXXX); Technical Training LATAM S.A. (96-847880K); LATAM Travel Chile II S.A.
(XX-XXXXXXX); Lan Pax Group S.A. (XX-XXXXXXX); Fast Air Almacenes de Carga S.A. (XX-XXXXXXX); Línea Aérea



                                                          6
20-11601      Doc 2      Filed 07/09/20        Entered 07/09/20 03:24:01            Main Document            Pg
                                                  7 of 18


Carguera de Colombia S.A. (XX-XXXXXXX); Aerovías de Integración Regional S.A. (XX-XXXXXXX); LATAM Finance
Ltd. (N/A); LATAM Airlines Ecuador S.A. (XX-XXXXXXX); Professional Airline Cargo Services, LLC (XX-XXXXXXX);
Cargo Handling Airport Services, LLC (XX-XXXXXXX); Maintenance Service Experts, LLC (XX-XXXXXXX); Lan Cargo
Repair Station LLC (XX-XXXXXXX); Prime Airport Services Inc. (XX-XXXXXXX); Professional Airline Maintenance
Services LLC (XX-XXXXXXX); Connecta Corporation (XX-XXXXXXX); Peuco Finance Ltd. (N/A); Latam Airlines Perú
S.A. (XX-XXXXXXX); Inversiones Aéreas S.A. (N/A); Holdco Colombia II SpA (XX-XXXXXXX); Holdco Colombia I
SpA (XX-XXXXXXX); Holdco Ecuador S.A. (XX-XXXXXXX); Lan Cargo Inversiones S.A. (XX-XXXXXXX); Lan Cargo
Overseas Ltd. (XX-XXXXXXX); Mas Investment Ltd. (XX-XXXXXXX); Professional Airlines Services Inc. (XX-XXXXXXX);
Professional Airlines Services Inc. (XX-XXXXXXX); Piquero Leasing Limited (N/A); TAM S.A. (N/A); TAM Linhas
Aéreas S.A. (XX-XXXXXXX); Aerolinhas Brasileiras S.A. (XX-XXXXXXX); Prismah Fidelidade Ltda. (N/A); Fidelidade
Viagens e Turismo S.A. (XX-XXXXXXX); TP Franchising Ltda. (N/A); Holdco I S.A. (XX-XXXXXXX) and Multiplus
Corredora de Seguros Ltda. (N/A). For the purpose of these Chapter 11 Cases, the service address for the Debtors
is: 6500 NW 22nd Street Miami, FL 33131.

                 8.       The Debtors further request that an entry be made on the docket of each of

the Subsequent Debtors’ cases substantially as follows:

                 An Order has been entered in this case under Rule 1015(b) of the Federal
                 Rules of Bankruptcy Procedure directing the procedural consolidation
                 and joint administration of the chapter 11 cases of LATAM Airline
                 Group S.A. and its affiliates. All further pleadings and other papers
                 shall be filed in, and all further docket entries shall be made in the docket
                 of LATAM Airline Group S.A., Case No. 20-11254 and such docket
                 should be consulted for all matters affecting this chapter 11 case.

                 9.       Finally, the Subsequent Debtors seek authority to file the monthly

operating reports required by the Operating Guidelines and Reporting Requirements for Debtors-

in-Possession and Trustees, issued by the Office of the United States Trustee for the Southern

District of New York (the “U.S. Trustee”), on a consolidated basis with the Initial Debtors.

                                           BASIS FOR RELIEF

                 10.      Bankruptcy Rule 1015(b) provides that “[i]f . . . two or more petitions are

pending in the same court by or against . . . a debtor and an affiliate, the court may order a joint

administration of the estates.” Section 101(2) of the Bankruptcy Code defines the term “affiliate” in

pertinent part, as an:

                 (A) entity that directly or indirectly owns, controls, or holds with power to vote, 20
                 percent or more of the outstanding voting securities of the debtor . . . .
                 (B) corporation 20 percent or more of whose outstanding voting securities are directly
                 or indirectly owned, controlled, or held with power to vote, by the debtor, or by an




                                                       7
20-11601     Doc 2      Filed 07/09/20     Entered 07/09/20 03:24:01          Main Document           Pg
                                              8 of 18



               entity that directly or indirectly owns, controls, or holds with power to vote, 20
               percent or more of the outstanding voting securities of the debtor . . . .
               (C) person whose business is operated under a lease or operating agreement by a
               debtor, or person substantially all of whose property is operated under an operating
               agreement with the debtor; or
               (D) entity that operates the business or substantially all of the property of the debtor
               under a lease or operating agreement.

See 11 U.S.C. 101(2).

               11.      Each of the Subsequent Debtors is either a direct or indirect subsidiary of

LATAM Parent. As such, the Subsequent Debtors collectively, and together with the Initial

Debtors, are “affiliates” within the definition of Section 101(2). Accordingly, joint

administration of the Chapter 11 Cases is appropriate under Bankruptcy Rule 1015(b) and Rule

1015. The Debtors anticipate that numerous notices, applications, motions, other pleadings,

hearings, and orders will affect several of the Debtors. Indeed, many filings will be applicable to

all of the Debtors. The failure to jointly administer these cases would thus result in numerous

duplicative filings, which would then be served upon separate service lists. This duplication

would be wasteful and would unnecessarily overburden the Clerk of the Court, and serve only to

confuse the Debtors’ creditors.

               12.      The rights of the respective creditors of each of the Debtors will not be

adversely affected by joint administration of these cases inasmuch as the relief sought is purely

procedural. Each creditor and other party in interest will maintain whatever rights it has against

the particular estate in which it allegedly has a claim or right.

               13.      Section 105 of the Bankruptcy Code also provides this Court with the

power to order joint administration of these Chapter 11 Cases. Section 105(a) of the Bankruptcy

Code states that a bankruptcy court “may issue any order, process, or judgment that is necessary

or appropriate to carry out the provisions of [the Bankruptcy Code].” See 11 U.S.C. § 105(a).

The entry of a joint administration order in multiple related cases is common in this district and



                                                   8
20-11601       Doc 2      Filed 07/09/20        Entered 07/09/20 03:24:01              Main Document                Pg
                                                   9 of 18



may be entered by the Court in its sole discretion on an ex parte basis. See, e.g., Order, In re

Republic Airways Servs., Inc., Case No. 16-10429 (SHL) (Bankr. S.D.N.Y. Feb. 25, 2016), ECF

No. 3; Order, In re Aramid Entm’t Fund Ltd., Case No. 14-11802 (SHL) (Bankr. S.D.N.Y. July

3, 2014), ECF No. 33; Order, In re Genco Shipping & Trading Ltd., Case No. 14-11108 (SHL)

(Bankr. S.D.N.Y. Apr. 23, 2014), ECF No. 29; Order, In re MPM Silicones, LLC, Case No. 14-

22503 (RDD) (Bankr. S.D.N.Y. Apr. 14, 2014), ECF No. 26; Order, In re LodgeNet Interactive

Corp., Case No. 13-10238 (SCC) (Bankr. S.D.N.Y. Jan. 29, 2013), ECF No. 41; Order, In re

Blockbuster, Inc., Case No. 10-14997 (BRL) (Bankr. S.D.N.Y. Sept. 23, 2010), ECF No. 36. 3

                 14.      Accordingly, the Debtors respectfully submit that joint administration, for

procedural purposes only, is in the best interest of the Debtors, their creditors and other parties in

interest.

                                                    NOTICE

                 15.      Notice of this Motion has been provided to the following parties, or, in

lieu thereof, their counsel: (i) the office of the United States Trustee for the Southern District of

New York; (ii) the holders of the five largest secured claims against the Subsequent Debtors (on

a consolidated basis), (iii) the holders of the forty largest unsecured claims against the

Subsequent Debtors (on a consolidated basis), (iv) the Internal Revenue Service; (v) the

Securities and Exchange Commission; (vi) the Federal Aviation Administration; (vii) counsel for

the Official Committee of Unsecured Creditors; and (viii) all others that are required to be

noticed in accordance with Bankruptcy Rule 2002 and Local Rule 2002-1. The Debtors have

further provided notice of this Motion in accordance with the procedures set forth in the Order



3
        Because of the voluminous nature of the orders cited herein, such orders are not attached to this Motion.
Copies of these orders are available upon request of counsel to the Initial Debtors and Proposed Counsel to the
Subsequent Debtors.



                                                         9
20-11601     Doc 2     Filed 07/09/20      Entered 07/09/20 03:24:01         Main Document        Pg
                                             10 of 18



Implementing Certain Notice and Case Management Procedures (ECF No. 112). The Debtors

submit that, in light of the nature of the relief requested, no other or further notice need be

provided.

                                      NO PRIOR REQUEST

               16.     No prior motion for the relief requested herein has been made to this or

any other Court.

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                                                  10
20-11601     Doc 2     Filed 07/09/20      Entered 07/09/20 03:24:01       Main Document         Pg
                                             11 of 18



                                          CONCLUSION

               WHEREFORE, for the reasons set forth herein the Debtors respectfully request

that this Court (a) enter an order, substantially in the form attached hereto as Exhibit A and

(b) grant such other and further relief as is just and proper.

  Dated:      July 9, 2020                    /s/ Luke A. Barefoot
              New York, New York              Richard J. Cooper
                                              Lisa M. Schweitzer
                                              Luke A. Barefoot
                                              Thomas S. Kessler
                                              CLEARY GOTTLIEB STEEN & HAMILTON LLP
                                              One Liberty Plaza
                                              New York, New York 10006
                                              Telephone: (212) 225-2000
                                              Facsimile: (212) 225-3999


                                              Counsel to the Initial Debtors
                                              and Debtors-in-Possession and
                                              Proposed Counsel to the Subsequent
                                              Debtors and Debtors-in-Possession




                                                  11
20-11601   Doc 2   Filed 07/09/20   Entered 07/09/20 03:24:01   Main Document   Pg
                                      12 of 18



                                     EXHIBIT A

                                    Proposed Order
20-11601       Doc 2       Filed 07/09/20        Entered 07/09/20 03:24:01               Main Document             Pg
                                                   13 of 18



    UNITED STATES BANKRUPTCY COURT
    FOR THE SOUTHERN DISTRICT OF NEW YORK

    In re                                                                   Chapter 11

    LATAM Airlines Group S.A., et al.                                       Case No. 20-11254

                                               Debtors. 1                   Jointly Administered




                           ORDER AUTHORIZING JOINT
                ADMINISTRATION OF THE DEBTORS’ CHAPTER 11 CASES

                  Upon the Motion 2 of TAM S.A., TAM Linhas Aéreas S.A., Aerolinhas

Brasileiras S.A., Prismah Fidelidade Ltda., Fidelidade Viagens e Turismo S.A., TP Franchising

Ltda., Holdco I S.A., Multiplus Corredora de Seguros Ltda. and Piquero Leasing Limited

(collectively, the “Subsequent Debtors”) and LATAM Airline Group S.A. (“LATAM Parent”)

and its affiliated debtors and debtors-in-possession in the above-captioned jointly administered

Chapter 11 Cases (collectively, the “Initial Debtors” and, together with the Subsequent Debtors,




1
         The Debtors filing voluntary petitions for relief under chapter 11 of the Bankruptcy Code (the “Chapter 11
Cases”), along with the last four digits of each Debtor’s U.S. or local tax identification number (as applicable) are:
LATAM Airlines Group S.A. (XX-XXXXXXX); Lan Cargo S.A. (XX-XXXXXXX); Transporte Aéreo S.A. (XX-XXXXXXX);
Inversiones Lan S.A. (XX-XXXXXXX); Technical Training LATAM S.A. (96-847880K); LATAM Travel Chile II S.A.
(XX-XXXXXXX); Lan Pax Group S.A. (XX-XXXXXXX); Fast Air Almacenes de Carga S.A. (XX-XXXXXXX); Línea Aérea
Carguera de Colombia S.A. (XX-XXXXXXX); Aerovías de Integración Regional S.A. (XX-XXXXXXX); LATAM Finance
Ltd. (N/A); LATAM Airlines Ecuador S.A. (XX-XXXXXXX); Professional Airline Cargo Services, LLC (XX-XXXXXXX);
Cargo Handling Airport Services, LLC (XX-XXXXXXX); Maintenance Service Experts, LLC (XX-XXXXXXX); Lan Cargo
Repair Station LLC (XX-XXXXXXX); Prime Airport Services Inc. (XX-XXXXXXX); Professional Airline Maintenance
Services LLC (XX-XXXXXXX); Connecta Corporation (XX-XXXXXXX); Peuco Finance Ltd. (N/A); Latam Airlines Perú
S.A. (XX-XXXXXXX); Inversiones Aéreas S.A. (N/A); Holdco Colombia II SpA (XX-XXXXXXX); Holdco Colombia I
SpA (XX-XXXXXXX); Holdco Ecuador S.A. (XX-XXXXXXX); Lan Cargo Inversiones S.A. (XX-XXXXXXX); Lan Cargo
Overseas Ltd. (XX-XXXXXXX); Mas Investment Ltd. (XX-XXXXXXX); Professional Airlines Services Inc. (XX-XXXXXXX);
Professional Airlines Services Inc. (XX-XXXXXXX); Piquero Leasing Limited (N/A); TAM S.A. (N/A); TAM Linhas
Aéreas S.A. (XX-XXXXXXX); Aerolinhas Brasileiras S.A. (XX-XXXXXXX); Prismah Fidelidade Ltda. (N/A); Fidelidade
Viagens e Turismo S.A. (XX-XXXXXXX); TP Franchising Ltda. (N/A); Holdco I S.A. (XX-XXXXXXX) and Multiplus
Corredora de Seguros Ltda. (N/A). For the purpose of these Chapter 11 Cases, the service address for the Debtors
is: 6500 NW 22nd Street Miami, FL 33131.
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         All capitalized terms used and not defined herein shall have the meanings ascribed to them in the Motion.
20-11601       Doc 2      Filed 07/09/20       Entered 07/09/20 03:24:01             Main Document              Pg
                                                 14 of 18



the “Debtors”) 3 for entry of an order (this “Order”) authorizing the joint administration of the

Debtors’ related Chapter 11 Cases; it appearing that this Court has jurisdiction to consider the

Motion pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended Standing Order of Reference

from the United States District Court for the Southern District of New York dated January 31,

2012; and it appearing that venue of these Chapter 11 Cases and the Motion in this district is

proper pursuant to 28 U.S.C. §§ 1408 and 1409; and it appearing that this matter is a core

proceeding pursuant to 28 U.S.C.§ 157(b); and this Court having found that proper and adequate

notice of this Motion and the relief requested therein has been provided in accordance with the

Bankruptcy Rules and the Local Rules, and that, except as otherwise ordered herein, no other or

further notice is necessary; and any objections (if any) to the Motion having been withdrawn or

overruled on the merits; and a hearing having been held to consider the relief requested in the

Motion and upon the record of the hearing and all of the proceedings had before the Court; and

the Court having found and determined that the relief sought in the Motion is in the best interests

of the Debtors, their estates, their creditors and all other parties-in-interest; and that the legal and

factual bases set forth in the Motion establish just cause for the relief granted herein; and after

due deliberation and sufficient cause appearing therefor;

IT IS HEREBY ORDERED THAT:

                 1.       The Motion is GRANTED as set forth herein.

                 2.       Pursuant to Bankruptcy Rule 1015(b), and Section 105(a) of the

Bankruptcy Code, the above-captioned Chapter 11 Cases are consolidated for administrative

purposes only and shall be jointly administered by this Court as Case No. Case No. 20-11254.




3
      LATAM Parent, and its debtor and non-debtor subsidiaries and affiliates are collectively referred to as
“LATAM”.


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20-11601   Doc 2   Filed 07/09/20    Entered 07/09/20 03:24:01        Main Document           Pg
                                       15 of 18



            3.     The consolidated caption of the jointly administered cases shall read as

follows:




                                            3
20-11601       Doc 2       Filed 07/09/20        Entered 07/09/20 03:24:01               Main Document             Pg
                                                   16 of 18




    UNITED STATES BANKRUPTCY COURT
    FOR THE SOUTHERN DISTRICT OF NEW YORK

    In re                                                                  Chapter 11

    LATAM Airlines Group S.A., et al.,                                     Case No. Case No. 20-11254

                              Debtors.1                                    Jointly Administered


1
         The Debtors filing voluntary petitions for relief under chapter 11 of the Bankruptcy Code (the “Chapter 11
Cases”), along with the last four digits of each Debtor’s U.S. or local tax identification number (as applicable) are:
LATAM Airlines Group S.A. (XX-XXXXXXX); Lan Cargo S.A. (XX-XXXXXXX); Transporte Aéreo S.A. (XX-XXXXXXX);
Inversiones Lan S.A. (XX-XXXXXXX); Technical Training LATAM S.A. (96-847880K); LATAM Travel Chile II S.A.
(XX-XXXXXXX); Lan Pax Group S.A. (XX-XXXXXXX); Fast Air Almacenes de Carga S.A. (XX-XXXXXXX); Línea Aérea
Carguera de Colombia S.A. (XX-XXXXXXX); Aerovías de Integración Regional S.A. (XX-XXXXXXX); LATAM Finance
Ltd. (N/A); LATAM Airlines Ecuador S.A. (XX-XXXXXXX); Professional Airline Cargo Services, LLC (XX-XXXXXXX);
Cargo Handling Airport Services, LLC (XX-XXXXXXX); Maintenance Service Experts, LLC (XX-XXXXXXX); Lan Cargo
Repair Station LLC (XX-XXXXXXX); Prime Airport Services Inc. (XX-XXXXXXX); Professional Airline Maintenance
Services LLC (XX-XXXXXXX); Connecta Corporation (XX-XXXXXXX); Peuco Finance Ltd. (N/A); Latam Airlines Perú
S.A. (XX-XXXXXXX); Inversiones Aéreas S.A. (N/A); Holdco Colombia II SpA (XX-XXXXXXX); Holdco Colombia I
SpA (XX-XXXXXXX); Holdco Ecuador S.A. (XX-XXXXXXX); Lan Cargo Inversiones S.A. (XX-XXXXXXX); Lan Cargo
Overseas Ltd. (XX-XXXXXXX); Mas Investment Ltd. (XX-XXXXXXX); Professional Airlines Services Inc. (XX-XXXXXXX);
Professional Airlines Services Inc. (XX-XXXXXXX); Piquero Leasing Limited (N/A); TAM S.A. (N/A); TAM Linhas
Aéreas S.A. (XX-XXXXXXX); Aerolinhas Brasileiras S.A. (XX-XXXXXXX); Prismah Fidelidade Ltda. (N/A); Fidelidade
Viagens e Turismo S.A. (XX-XXXXXXX); TP Franchising Ltda. (N/A); Holdco I S.A. (XX-XXXXXXX) and Multiplus
Corredora de Seguros Ltda. (N/A). For the purpose of these Chapter 11 Cases, the service address for the Debtors
is: 6500 NW 22nd Street Miami, FL 33131.
                  4.       The foregoing caption satisfies the requirements set forth in section

342(c)(1) of the Bankruptcy Code.

                  5.       A docket entry shall be made in each of the Subsequent Debtors’ Chapter

11 Cases, other than the docket maintained for the chapter 11 case of LATAM, substantially as

follows:

                  An Order has been entered in this case under rule 1015(b) of the
                  Federal Rules of Bankruptcy Procedure directing the procedural
                  consolidation and joint administration of the chapter 11 cases of
                  LATAM Airline Group S.A. and its affiliates. All further pleadings
                  and other papers shall be filed in, and all further docket entries shall
                  be made in the docket of LATAM Airline Group S.A., Case No.
                  20-11254 and such docket should be consulted for all matters
                  affecting this chapter 11 case.



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20-11601      Doc 2     Filed 07/09/20      Entered 07/09/20 03:24:01          Main Document             Pg
                                              17 of 18



                6.      Any creditor filing a proof of claim against any of the Debtors shall

clearly assert such claim against the particular Debtor allegedly obligated on such claim and not

against the jointly administered Debtors, except as otherwise provided in any other order of this

Court.

                7.      The Debtors may file a single monthly operating report as required by the

Operating Guidelines and Reporting Requirement for Debtors in Possession and Trustees, issued

by the Executive Office of United States Trustees (rev. 11/27/13) for the jointly administered

Debtors. However, the monthly operating report shall be filed on a consolidating (not

consolidated) basis. The report shall contain on a consolidating basis the information required

for each Debtor that tracks and breaks out all of the specific information (e.g. receipts,

disbursements, etc.) on a Debtor-by-Debtor basis.

                8.      One consolidated docket, one file and one consolidated service list shall be

maintained by LATAM and kept by the Clerk of the Court with the assistance of the notice and

claims agent retained by the Debtors in these Chapter 11 Cases.

                9.      Nothing contained in the Motion or this Order shall be deemed or

construed as directing or otherwise affecting a substantive consolidation of these Chapter 11

Cases.

                10.     Notwithstanding any provision in the Federal Rules of Bankruptcy Procedure

to the contrary, (i) the terms of this Order shall be immediately effective and enforceable upon its

entry, (ii) the Debtors are not subject to any stay in the implementation, enforcement, or realization

of the relief granted in this Order and (iii) the Debtors may, in their discretion and without further

delay, take any action and perform any act authorized under this Order.

                11.     This Order is immediately effective and enforceable, notwithstanding the

possible applicability of Bankruptcy Rule 6003(b) or otherwise.


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20-11601      Doc 2   Filed 07/09/20     Entered 07/09/20 03:24:01        Main Document           Pg
                                           18 of 18



               12.    This Court shall retain jurisdiction with respect to any matters, claims,

rights or disputes arising from or related to the Motion or the implementation or enforcement of

this Order.



 Dated: _____________, 2020
        New York, New York                     HONORABLE JAMES L. GARRITY JR.
                                               UNITED STATES BANKRUPTCY JUDGE




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